977 F.2d 574
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES OF AMERICA, Plaintiff-Appellee,v.Patrick Albert BYERS, Defendant-Appellant.
    No. 92-6607.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 30, 1992Decided:  October 22, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.
      Patrick Albert Byers, Appellant Pro Se.
      Roann Nichols, Office of the United States Attorney, Baltimore, Maryland, for Appellee.
      D.Md.
      AFFIRMED.
      Before WIDENER and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Patrick Albert Byers appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Byers, No. CR-88-291-K, CA-92-485-K (D. Md. June 1, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    